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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 ARBUTUS BIOPHARMA CORPORATION                  )
 and GENEVANT SCIENCES GMBH,                    )
                                                )
                       Plaintiffs,              )
                                                )
               v.                               ) C.A. No. 22-252 (MSG)
                                                )
 MODERNA, INC. and MODERNATX, INC.              )
                                                )
                       Defendants.              )

         DEFENDANTS’ RULE 7.1 CORPORATE DISCLOSURE STATEMENT

       Pursuant to Rule 7.1(a) of the Federal Rules of Civil Procedure, Defendants Moderna, Inc.

and ModernaTX, Inc., by and through their attorneys, hereby make the following disclosures:

       Defendant ModernaTX, Inc. is a wholly-owned subsidiary of Defendant Moderna, Inc.

Defendant Moderna, Inc. is a publicly traded company that has no parent corporation, and no

publicly held corporation owns 10% or more of its stock.

                                               MORRIS, NICHOLS, ARSHT & TUNNELL LLP

OF COUNSEL:                                    /s/ Brian P. Egan
James F. Hurst                                 Jack B. Blumenfeld (#1014)
KIRKLAND & ELLIS LLP                           Brian P. Egan (#6227)
300 North LaSalle                              1201 North Market Street
Chicago, IL 60654                              P.O. Box 1347
(312) 862-2000                                 Wilmington, DE 19899
                                               (302) 658-9200
Patricia A. Carson, Ph.D.                      jblumenfeld@morrisnichols.com
Jeanna M. Wacker, P.C.                         began@morrisnichols.com
Mark C. McLennan
KIRKLAND & ELLIS LLP                           Attorneys for Defendants
601 Lexington Avenue
New York, NY 10022
(212) 446-4800

May 6, 2022
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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 6, 2022, I caused the foregoing to be electronically filed with

the Clerk of the Court using CM/ECF, which will send notification of such filing to all registered

participants.

       I further certify that I caused copies of the foregoing document to be served on

May 6, 2022, upon the following in the manner indicated:

 John W. Shaw, Esquire                                                 VIA ELECTRONIC MAIL
 Karen E. Keller, Esquire
 SHAW KELLER LLP
 I.M. Pei Building
 1105 North Market Street, 12th Floor
 Wilmington, DE 19801
 Attorneys for Plaintiffs Arbutus Biopharma
 Corporation and Genevant Sciences GmbH

 Daralyn J. Durie, Esquire                                             VIA ELECTRONIC MAIL
 Eric C. Wiener, Esquire
 DURIE TANGRI LLP
 217 Leidesdorff Street
 San Francisco, CA 94111
 Attorneys for Plaintiff Arbutus Biopharma
 Corporation

 Kira A. Davis, Esquire                                                VIA ELECTRONIC MAIL
 DURIE TANGRI LLP
 953 East 3rd Street
 Los Angeles, CA 90013
 Attorneys for Plaintiff Genevant Sciences
 GmbH
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David I. Berl, Esquire                                          VIA ELECTRONIC MAIL
Adam D. Harber, Esquire
Thomas S. Fletcher, Esquire
Jessica Palmer Ryen, Esquire
Denis R. Hurley, Esquire
Lydia B. Cash, Esquire
WILLIAMS & CONNOLLY LLP
680 Maine Avenue S.W.
Washington, DC 20024
Attorneys for Plaintiff Genevant Sciences
GmbH



                                                /s/ Brian P. Egan

                                                Brian P. Egan (#6227)




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